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                           Date        of Filing:


                                                                                                                                                  Plaintiff        designates
                                                                                                                                                  Orange   County
                                                                                                                                                  as the place of trial.


                                                                                                                                                  The      basis     of venue           is the
                                                                                                                                                  Plaintiff's           residence         address.


                                                                                                                                                  Plaintiff        resides         at
                                                                                                                                                  600      Stratford         Lane,       Apt     138

                                                                                                                                                  Middletown,               New         York     10940


                           SUPREME                COURT            OF     THE          STATE           OF    NEW YORK
                           COUNTY               OF     ORANGE
                           ------------------------------------------------------------------X
                           RITA         INTRIAGO,


                                                                         Plaintiff,                                                                                SUMMONS

                                           -against-                                                                                                               Index      #:


                           BEST          BUY         (STORE             # 461),          BEST          BUY       CO.,      INC.
                           AND          MIDDLETOWN                          CRYSTAL                    RT     17 LLC,


                                                                         Defendants.
                           --------       ---------------------------------------------------------X
                           To the above-named                      Defendant:


                                           YOU        ARE       HEREBY                 SUMMONED,                 to answer         the complaint              in this      action       and to serve
                           a copy        of your        answer,         or, if the complaint                 is not served with this summons,    to serve a notice                                      of
                                                    on the plaintiff's             attorneys           within    - 20- days after the service of this summons,
                           appearance,
                           exclusive          of the day          of service           (or within           30 days     after    the   service         is complete          if this      summons             is
                           not personally              delivered         to you         within      the State         of New      York);     and        in case of your             failure      to
                           appear or answer,                 judgment           will     be taken           against     you     by default       for    the relief         demanded            in the
                           complaint.


                                                                                                                                             SOBO         & SOBO            L.L.P.




                                                                                                                                                  : June C.M.         Colthirst,          Esq.
                                                                                                                                             Attorneys          for PlaintitT
                                                                                                                                             One Dolson            Avenue
                                                                                                                                             Middletown,            New      Yo&         10940
                                                                                                                                             (845)343-7626




                           Dated:        September             14, 2020
                                     Middletown,      New York
                           Defendants'
                                           addresses:   See Complaint




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                           SUPREME                  COURT              OF THE             STATE             OF         NEW YORK
                           COUNTY                 OF ORANGE
                                                                                                                                                   X
                           RITA         INTRIAGO,


                                                                                         Plaintiff,                                                                           VERIFIED
                                                                                                                                                                              COMPLAINT
                                              -against-

                                                                                                                                                                              Index         No.:


                           BEST         BUY         (STORE              # 461),         BEST           BUY             CO.,      INC.
                           AND         MIDDLETOWN                            CRYSTAL                  ROUTE                17 LLC,


                                                                                         Defendants.
                           ---------------------------------------------------                                                                    X


                                          Plaintiff,            RITA         INTRIAGO,                 by     her        attorneys,             SOBO              &        SOBO,      L.L.P.,          as and          for



                           the    Verified             Complaint,             herein         alleges        the        following:


                                                                                                       THE             PARTIES


                                  1.      That         at all     times       hereinafter              mentioned,                  the    Plaintiff,              RITA            INTRIAGO,                 was     and


                                          still    is a resident              of the         County         of    Orange,            State        of New              York.


                                  2.      That          at      all    times          hereinafter                mentioned,                    upon           information                  and       belief,           the



                                          Defendant,                  BEST         BUY         (STORE               #461),           was        and       still        is    a domestic             corporation



                                          organized              and      existing        under         and       by      virtue         of the       Laws            of    the    State     of New            York.


                                  3.      That          at      all    times          hereinafter                mentioned,                    upon           information                  and       belief,           the



                                          Defendant,                  BEST         BUY        (STORE              #461),           was     and        still       is a foreign             corporation             duly


                                          authorized              to do business                within           the     State       of New            York.


                                  4.      That          at      all    times          hereinafter                mentioned,                    upon           information                  and       belief,           the



                                          Defendant,                  BEST         BUY          (STORE                 #461),            was      a still          is       a business             entity         doing


                                          business           within          the     State     of New             York.




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               5.    That         at     all       times           hereinafter            mentioned,                 upon              information                          and         belief,              the



                     Defendant,                BEST             BUY         CO.,         INC.,          was      and           still         is         a        domestic             corporation



                     organized            and        existing         under        and      by      virtue     of the       Laws                 of        the      State     of New                 York.


               6.    That         at     all       times           hereinafter              mentioned,               upon              information                          and         belief,              the



                     Defendant,                BEST           BUY         CO.,        INC.,          was      and      still           is    a foreign                     corporation                     duly


                     authorized               to do business               within        the      State       of New             York.


               7,    That         at     all       times           hereinafter            mentioned,                 upon              information                          and         belief,              the



                     Defendant,                BEST             BUY        CO.,          INC.,         was       and        still           is         a      business              entity            doing


                     business           within         the      State     of New            York.


               8.    That        all   times         hereinafter           mentioned,                upon       information                       and            belief,      the       Defendant,


                     MIDDLETOWN                            CYRSTAL                  ROUTE              17 LLC,             was         and            still        is a domestic                  limited



                     liability         company               organized           and        existing          under         and         by        virtue              of    the     Laws              of     the


                     State       of New          York.


               9.    That         at     all       times           hereinafter            mentioned,                 upon              information                          and         belief,              the



                     Defendant,                MIDDLETOWN                            CYRSTAL                   ROUTE                    17        LLC,                was         and        still         is      a


                     foreign           limited         liability         company               organized             and       existing                     under          and      by       virtue             of


                     the     Laws        of    the     State        of New          York.


               10.   That         at     all       times           hereiñafter            mentioned,                 upon              information                          and         belief,              the



                     Defendant,                MIDDLETOWN                            CYRSTAL                   ROUTE                    17        LLC,                was         and        still         is      a


                     business           entity        doing         business         within          the     State     of New                York.


                           AS FOR              A     FIRST            CAUSE              OF ACTION                    ON BEHALF                                    OF PLAINTIFF
                                                                                      RITA            INTRIAGO


               11,   That         at     all       times           hereinafter            mentioned,                 upon              information                          and         belief,              the



                     Defendant,                BEST           BUY         (STORE                 #461),        was         the         owner                  of      a certain              premises




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                     located        at    1100-1300         North           Galleria       Drive,          Middletown                   , County           of    Orange,      State


                                                                                  BUY."
                     of New         York,        known       as "BEST


               12.   That      at        all    times      hereinafter                mentioned,             upon           information                    and      belief,      the



                     Defendant,                BEST      BUY     (STORE                #461),       maintained                  the      aforesaid          premises.


               13.   That      at        all    times      hereinafter                mentioned,             upon           information                    and      belief,      the



                     Defendant,                BEST      BUY     (STORE                #461),       managed               the        aforesaid        premises.


               14.   That      at        all    times      hereinafter                mentioned,             upon           information                    and      belief,      the



                     Defendant,                BEST      BUY     (STORE                #461),       controlled              the        aforesaid        premises.


               15.   That      at        all    times      liereinafter               mentioned,             upon           information                    and      belief,      the



                     Defendant,                BEST      BUY     (STORE                #461),       operated              the        aforesaid        premises.


               16.   That      at        all    times      hereinafter                mentioned,             upon           information                    and      belief,      the



                     Defendant,                BEST      BUY     (STORE                #461),      was      the     lessee            of the      aforesaid         premises.


               17,   That      at        all    times      hereinafter                mentioned,             upon               information                and      belief,      the



                     Defendant,                BEST      BUY     (STORE                #461),      was      the     lessor            of the       aforesaid        premises.


               18.   That      at        all    times      hereinafter                mentioned,             upon               information                and      belief,      the



                     Defendant,                BEST      BUY         CO.,      INC.,       was       the     owner              of     a certain        premises           located


                     at1100-1300                North     Galleria          Drive,       Middletown                 , County              of     Orange,         State     of New


                                                                 BUY."
                     York,     known             as "BEST


               19.   That      at        all    times      hereinafter                mentioned,             upon               information                and      belief,      the



                     Defendant,                BEST      BUY     CO.,         INC.,       maintained                the     aforesaid              premises.


               20.   That      at        all     times     hereinafter                mentioned,             upon           information                    and      belief,      the



                     Defendant,                BEST      BUY     CO.,         INC.,       managed             the    aforesaid                 premises.




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               21.That       at   all    times   hereinafter       mentioned,         upon   information          and     belief,    the


                    Defendant,BESTBUYCO.,1NC.,controlledtheaforesaidpremises.


               22.That       at   all    times   lierchiafter      mentioned,         upon   information          and     belief,    the


                    Defendant,BESTBUYCO.,1NC.,operatedtheaforesaidpremises.


               23.That       at   all    times   hereinafter       mentioned,         upon   information          and     belief,    the


                    Defendant,BESTBUYCO.,1NC.,wasthelesseeoftheaforesaidpremises.


               24.That       at   all    times   hereinafter       mentioned,         upon   information          and     belief,    the


                    Defendant,BESTBUYCO.,1NC.,wasthelessoroftheaforesaidpremises.


               25.That       at   all    times   hereiñafter       mentioned,         upon   information          and     belief,    the



                    Defendant,          MIDDLETOWNCYRSTAL                        ROUTE       17   LLC,      was    the   owner      ofa



                    certainpremiseslocatedat1100-1300NorthGalleriaDrive,Middletown,County

                    ofOrange,StateofNewYork,knownas"BESTBUY."



               26.That       at   all    times   hereinafter       mentioned,         upon   information          and     belief,    the



                    Defendant,           MIDDLETOWN              CYRSTAL           ROUTE          17     LLC,     maintained         the


                    aforesaidpremises.


               27.That       at   all    times   hereinafter       mentioned,         upon   information          and     belief,    the



                    Defendant,           MIDDLETOWN               CYRSTAL            ROUTE         17      LLC,     managed          the


                    aforesaidpremises.


               28.That       at   all    times   hereinafter       mentioned,         upon   information          and     belief,    the



                    Defendant,           MIDDLETOWN              CYRSTAL            ROUTE         17      LLC,     controlled        the


                    aforesaidpremises.




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               29.   That        at     all        times         hereiñafter                  mentioned,                       upon           information                   and             belief,          the



                     Defendant,               MIDDLETOWN                           CYRSTAL                        ROUTE                 17 LLC,              operated                 the      aforesaid


                     premises.


               30.   That        at     all        times         hereinafter                  mentioned,                       upon           information                   and             belief,          the



                     Defendant,               MIDDLETOWN                            CYRSTAL                           ROUTE                 17 LLC,             was        the         lessee          of    the


                     aforesaid          premises.


               31,   That        at     all        times         hereinafter                  mentioned,                       upon           information                   and             belief,          the



                     Defendant,               MIDDLETOWN                            CYRSTAL                           ROUTE                 17 LLC,             was        the        lessor           of    the


                     aforesaid          premises.


                                                                        16tl¹
               32.   That       on      or     about         the                  day         of        November,                    2017,          while          this      Plaintiff,                RITA


                     INTRIAGO,                     was      lawfully             upon              the      aforesaid                 premises,              she      was             caused            to      be


                     precipitated             to the        ground,             thereby             sustaining                severe          and     serious             personal              injuries.


               33.   The      negligent,             wanton,            reckless              and         careless             acts     of     the     Defendants,                     their          agents,


                     servants         and/or         employees                  were          a cause            of     the        accident          and      resultant               injuries.


               34.   That       the      Defendants,                   their       agents,                servants                 and/or       employees                   were             negligent,


                     wanton,          reckless             and        careless          in,      among                other         things,         training,             allowing,                  causing


                     and/or       permitting                dangerous,               hazardous,                       and/or          unsafe         conditions                  to     exist         on     the


                     aforesaid           preiiiises,             in     allowing               employees                      to     operate          loaded              carts         in     the       store


                     when        they        are    not     properly             trained;               in acting             with      reckless             disregard                for      the     safety


                     of    others,       in    failing       to properly                 hire,           train        and      supervise             their      employees;                     in     failing


                     to    properly           oversee            and      maintain                 the      premises,                 and     the     Defendants,                      their          agents,


                     servants           and/or            employees               were             in     other         ways           negligent,               wanton,               reckless               and


                     careless




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               35.   That         the       Defendants,                           their       agents,               servants                 and/or            employees                   had        actual        and/or



                     constructive                      notice                of      the         dangerous                      and/or              defective                  conditions                in     that         the


                     conditions                  existed                for         a sufficient                    length             of      time         prior         to       the     happening                  of     the


                     incident             and          in    the            exercise                of     reasonable                       care,        the     defendants                     could          have         and


                     should            have           had        knowledge                       and           notice           thereof             and        further,             the     defendants,                    their



                     agents,           servants              and/or                 employees                   created               said      condition.


               36.   The          limited              liability                  provisions                   of         CPLR              1601          do        not        apply            pursuant              to     the


                     exceptions                  of     CPLR                 1602,           McludMg,                     but        not     limited           to,        1602(2)           (iv),       1602(7)             and


                     1602(11).


               37.   That         by     reason              of        the          foregoing,                  this         Plaintiff              was        caused              to     sustain         severe            and


                     serious            personal                 injuries               to    her        mind             and        body,          some         of       which,           upon          information



                     and     belief,             are     pernianent                       with        permanent                      effects            of pain,           disability,                disfigurement


                     and       loss         of        body             function.                      Further,                this          Plaintiff           was            caused            to     expend              and


                     become              obligated                    for      diverse              sums            of     money             for      the      purpose              of     obtaining             medical



                     care      and/or             cure           in     an        effort         to      alleviate              the        suffering            and         ills        sustained             as a result


                     of    this        accident;             the            plaintiff            further             was         caused             to lose           substantial                periods           of time


                     from         her       normal                 vocation                   and         activities,                 and       upon           information                      and      belief,           may


                     continue             in that           way              into       the      future             and       suffer           similar          losses.


               38.   That         by     reason             of        the     foregoing,                   this          plaintiff           has        been        damaged                in    a sum         that


                     exceeds             the      jurisdictional                           limits         of      all      lower           courts         which            would           otherwise               have


                     jurisdiction                 of this              matter.




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                         WHEREFORE,                    Plaintiff             demands          judgment        against         the     defendants,            and    each   of



            them,       as follows:


                         A     sum     that    exceeds              the      jurisdictional         limits      of      all       lower       courts        which      would


            otherwise          have    jurisdiction            in     this      matter,       together       with     the         costs     and        disbursements            of



            this    action.




            DATED:            September       14, 2020
                              Middletown,        New York
                                                                                                             SOBO             &     SOBO           L.L.P.




                                                                                                                    : .Iune        C.M.       Colthirst,       Esq.
                                                                                                             Attorneys              for    Plaintiff
                                                                                                             One      Dolson              Avenue

                                                                                                             Middletown,                  New       York     10940

                                                                                                             (845)       343-7626




            TO:          BEST         BUY     (STORE            #461)
                         C/O     Secretary        of   State


                         BEST         BUY     Co.,     Inc.

                         C/O     Secretary        of   State


                         MIDDLETOWN                    CYRSTAL                     RT     17 LLC
                         C/O     Secretary        of   State




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                                                                                   VERIFICATION


       STATE                    OF       NEW          YORK,                COUNTY                OF ORANGE                                 ss:




       RITA               INTRIAGO,                        being          duly     sworn         says;         I   am    one      of     the      plaintiffs               in     the      action

       herein;              I have           read         the      annexed         Verified            Complaint,               know           the       contents               thereof         and

       the        same             are      true     to     my       knowledge,               except           those         matters           therein             which           are     stated

       to    be          alleged            on      information                  and   belief,           and       as   to    those       matters              I    believe              them       to

       be        true.




                                                                                                                        RITA           INTRIAGO




       Sworn               to      before           me      on     this

                                                                      , 2020




       NOTARY                        PUBLIC



                                 CAROLE       SM1TH
                                          Stme    Of New                  York
                                Public.
                 Notary
                                No.    01SM6093616
                     Oua!ified              in Orange            County
                   Commassion                  Expires          June    2, 2
            My




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